                     Case 5:20-mc-80061-VKD Document 1-1 Filed 03/10/20 Page 1 of 36
                                                                              (
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            2
             3
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                 San Francisco, CA 94105-0921
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             5   H. MARK LYON, SBN 162061
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                 Palo Alto, CA 94304-1211
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                 Telephone: 650.849.5300
            8    Facsimile: 650.849.5333                                                  MAR 10 2020
                                                                                        SUSAN Y. SOONG
            9    !LISSA SAMPLIN, SBN 314018

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                 GIBSON, DUNN & CRUTCHER LLP
                                                                                    Ng~~~i,~ri,gtsl~'gL~~t:A
                 333 South Grand Avenue
          11     Los Angeles, CA 90071-3197
                 Telephone: 213.229.7000
          12     Facsimile: 213.229.7520

          13     Attorneys for Apple Inc.

          14                                    UNITED STATES DISTRICT COURT

          15                                 NORTHERN DISTRICT OF CALIFORNIA                       ib
                                                                                                    1110
                                                                              :\8 0 0 6 l • ISC
          16
          17     APPLE INC., a California CorporatiC V    2       ASE NO~r:

          18                           Plaintiff,               DECLARATION OF JOSHUAH. LERNER
                                                                IN SUPPORT OF APPLE INC. 'S MOTION
          19            V.                                      TO QUASH SUBPOENA AND FOR A
                                                                PROTECTIVE ORDER
          20     MASIMO CORPORATION,
                 a Delaware corporation; and                    [Related to Case Nos. 8:18-cv-02001-NS-JDE
          21     CERCACOR LABORATORIES, INC.,                   (C.D. Cal. filed Nov. 8, 2018) and 8:20-cv-
                                                                00048-NS (JDEx) (C.D. Cal . filed Jan. 9, 2020)]
          22     a Delaware Corporation,
                                                                Date:         TBD
          23                           Defendants.              Time:         TBD
                                                                Crtrm:        TBD
          24                                                    Judge:        TBD

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Gibson, Dunn &                     DECLARATION OF JOSHUAH. LERNER IN SUPPORT OF APPLE INC. 's
Crutcher LLP                        MOTION TO QUASH SUBPOENA AND FOR A PROTECTIVE ORDER
                       Case 5:20-mc-80061-VKD Document 1-1 Filed 03/10/20 Page 2 of 36




               1                               DECLARATION OF JOSHUAH. LERNER

              2           I, Joshua H. Lerner, declare and state as follows:

              3            1.     I am an attorney duly licensed to practice law before this Court and all courts of the

              4    State of California. I am an attorney with the law firm of Gibson, Dunn & Crutcher LLP

               5   ("Gibson Dunn"), counsel of record for Apple Inc. (''Apple") in the above-entitled action. I am one

              6    of the attorneys primarily responsible for the representation of Apple inMasimo C01p. et al. v. Apple,

              7    No. 8:20-cv-00048-DOC-DFM, (C.D. Cal., Jan. 9, 2020), and in this matter. I make this declaration

              8    in support of Apple's Motion to Quash Subpoena and for Protective Order ("the Motion"). I have

              9    personal, firsthand knowledge of the facts stated herein and, if called upon to do so, could and would

            10     competently testify thereto.

            11            2.      On January 8, 2020, Plaintiffs served a subpoena on Apple in connection with Masimo
            12     Corp. et al. v. True Wearables Inc. et al., No. 8:18-cv-02001 -NS-JDE (the "True Wearables Case"),

            13     noticing a deposition and requesting the production of documents. Attached hereto as Exhibit 1 is a

            14     true and correct copy of the subpoena served by Plaintiffs in connection with the True Wearables

            15     case on January 8, 2020.

            16            3.      Counsel for Apple began conferring with Plaintiffs on January 14, 2020. Apple

            17     thereafter repeatedly agreed to extend the meet and confer process- and to extend the deadline to

            18     respond-because Plaintiffs were still collecting documents from the True Wearable Defendants and

            19     had not deposed Marcelo Lamego. Attached hereto as Exhibit 2 is a true and correct copy of

            20     relevant email correspondence between the Parties from January 14 to March 5, 2020.

            21            4.      On February 27, the Parties met and conferred and again agreed to delay discussions

            22     while Plaintiffs pursued discovery in the True Wearables case. Counsel agreed to meet and confer

            23     on March 4 at 10:30 a.m. and to extend the deadline for Apple to object or otherwise respond until

            24     March 6. On March 4, with no warning, Plaintiffs ' counsel cancelled the meet and confer. Plaintiffs '

            25     counsel waited until after 8:45 p.m. that evening to respond to repeated inquiries, and then suggested

           26      that the Parties meet and confer late in the afternoon the day before the deadline to object or

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G ibso n, Dunn &                     D ECLARATION OF JOSHUAH. LERNER IN SUPPORT OF APPLE INC. 'S
C rutche r LLP                         MOTION TO QUASH SUBPOENA AND FOR A PROTECTIVE ORDER
                     Case 5:20-mc-80061-VKD Document 1-1 Filed 03/10/20 Page 3 of 36




             1   otherwise respond. Apple agreed to adjust to suit Plaintiffs' counsel's schedule, but sought two

            2    business days to discuss the outcome of the meeting.

            3            5.     Counsel met and conferred at 4:30 p.m. on March 5, 2020. Apple explained that

            4    neither the document requests nor deposition topics are tied to the claims in the True Wearables Case.

            5    Plaintiffs ' counsel responded that the allegations in the trade secret claim, particularly those asserted

            6    in paragraphs 82 and 83 of the True Wearables First Amended Complaint, are broad, but conceded

            7    that these allegations are related to True Wearables, not Apple. Rather than withdraw the subpoena,

            8    or wait to conduct discovery in the Apple Case, however, Plaintiffs' counsel insisted that Apple serve

            9    objections to the subpoena. Apple asked that Plaintiffs reconsider their position and come back with

          10     a final position on March 6, 2020, but Apple did not hear from Plaintiffs on that date.

          11            6.      On March 9, 2020, Apple followed up with a letter to Plaintiffs' counsel, reiterating its

          12     position that the subpoena is improper, and explaining its intention to file a motion to quash and for a

          13     protective order should Defendants not withdraw the subpoena by March 10, 2020. Attached hereto

          14     as Exhibit 3 is a true and correct copy of the letter sent by Apple to Plaintiffs on March 9, 2020. As

          15     of the time of filing of Apple ' s Motion, Plaintiffs have not responded to Apple ' s March 9, 2020 letter

          16     or withdrawn their subpoena.

          17
          18            I declare under penalty of perjury that the foregoing is true and correct.

          19
          20     DATE: March 10, 2020

          21
          22                                                    By:

          23                                                                    Joshua H. Lerner

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Gibson, Dunn &
                                    DECLARATION OF JOSHUAH. LERNER IN SUPPORT OF APPLE INC. 's
Crutcher LLP                         MOTION TO QUASH SUBPOENA AND FOR A PROTECTIVE ORDER
Case 5:20-mc-80061-VKD Document 1-1 Filed 03/10/20 Page 4 of 36




                Exhibit 1
       Case 5:20-mc-80061-VKD Document 1-1 Filed 03/10/20 Page 5 of 36


. CT Corporation                                                           Service of Process
                                                                           T ra nsmit t a l
                                                                           01/08/2020
                                                                           CT Log Number 536938677
 TO:      Ami Gomez
          Apple Inc.
          1 Infinite Loop, M/S 169-2NYJ
          Cupertino, CA 95014-2083


 RE:      Process Served in California

 FOR:     Apple Inc. (Domestic State: CA)




 l!!NCLOSED ARE COPIES OF LEGAL PROCES S RECEIV l!!D BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:


 TITLE OF ACTION:                   Masimo Corporation and Cercacor Laboratories, Inc., Pltfs. vs. True Wearables, Inc.
                                    and Marcelo Lamego, Dfts. / / To: Apple Inc.

 DOCUMENT(S) SERVED:                Check, Subpoena, Proof(s), Attachment(s)

 COURT/AGENCY:                      Central District of California - U.S. District Court, CA
                                    Case# 818CV02001 JVSJDE

 NATURE OF ACTION:                  Subpoena - Business records - Pertaining to Marcelo Lamego

 ON WHOM PROCESS WAS SERVED:        C T Corporation System, Los Angeles, CA

 DATE AND HOUR OF S l!!RVICE:       By Process Server on 01/08/2020 at 11 :27

 JURISDICTION Sl!!RVED :            California

 APPEARANCE OR ANSWER DU E:         02/10/2020 at 10:00 a.m. (Document(s) may contain additional answer dates)

 ATTORNEY(S) / SENDER(S):           Brian C. Claassen
                                    Knobbe, Martens, Olson & Bear LLP
                                    2040 Main St., 14th Floor
                                    Irvine, CA 92614
                                    949- 760-0404

 ACTION ITEMS:                      SOP Papers with Transmittal, via UPS Next Day Air

                                    Image SOP

                                    Email Notification, Ami Gomez ami_r_gomez@apple.com

                                    Email Notification, Noreen Krall nkrall@apple.com

                                    Email Notification, David Melaugh melaugh@apple.com

                                    Email Notification, Colleen Brown colleen_brown@apple.com

                                    Email Notification, DIANA LOOP loop@apple.com

                                    Email Notification, Heather Moser hmoser@apple.com

                                    Email Notification, Tim O'Neil toneil@apple.com

                                    Email Notification, Charstie Wheelock wheelock@apple .com




                                                                            Page 1 of 3 / DP
                                                                            Information displayed on this transmittal is for CT
                                                                            Corporation's record keeping purposes only and is provided to
                                                                            the recipient for quick reference. This information does not
                                                                            constitute a legal opinion as to the nature of action, the
                                                                            amount of damages, the answer date, or any information
                                                                            contained in the documents themselves. Recipient is
                                                                            responsible for interpreting said documents and for taking
                                                                            appropriate action. Signatures on certified mail receipts
                                                                            confirm receipt of package only, not contents.
           Case 5:20-mc-80061-VKD Document 1-1 Filed 03/10/20 Page 6 of 36

,.
 • . CT Corporation                                                         Service of Process
                                                                            Transmittal
                                                                            01/08/2020
                                                                            CT Log Number 536938677
     TO:     Ami Gomez
             Apple Inc.
             1 Infinite Loop, M/S 169-2NYJ
             Cupertino, CA 95014-2083


     RE:      Process Served in California

     FOR:     Apple Inc. (Domestic State: CA)




                                       Email Notification, Erik Floyd efloyd@apple.com

                                       Email Notification, Beth Kellermann kellermann@apple.com

                                        Email Notification, Ryan Moran rmoran@apple.com

                                       Email Notification, Jennifer Brown jennifer_brown@apple.com

                                        Email Notification, Susan Guarino sguarino@apple .com

                                        Email Notification, Andrew Farthing afarthing@apple.com

                                        Email Notification, Scott Murray scott_murray@apple.com

                                        Email Notification, Pami Vyas pvyas@apple.com

                                        Email Notification, Kim Moore kim_moore@apple.com

                                        Email Notification, Lisa Olle olle@apple.com

                                        Email Notification, Victoria Nakaahiki victoria_nakaahiki@app le.com

                                        Email Notification, Maya Kumar maya_kumar@apple.com

                                        Email Notification, Phil Rawlinson prawlinson@apple.com

                                        Email Notification, Jessica Hannah jessica_hannah@apple.com

                                        Email Notification, Kate Kaso-Howard kkasohoward@apple.com

                                        Email Notification, Marc Breverman mbreverman@apple.com

                                        Email Notification, STEPHANIE FINE stephanie_fine@apple.com

                                        Email Notification, AMY HANDLER ahandler@apple.com

                                        Email Notification, GABE ZELDIN gzeldin@apple.com

                                        Email Notification, BENJAMIN HUH bhuh@apple.com

                                        Email Notification, AARON HUANG aaron_y_huang@apple.com

                                        Email Notification, JAMES WILEY, JR. jwileyjr@apple.com

                                        Email Notification, JESSE KOEHLER jesse_koehler@apple.com




                                                                             Page 2 of 3 / DP
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                                                                            contained in the documents themselves. Recipient is
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                                                                            appropriate action. Signatures on certified mail receipts
                                                                            confirm receipt of package only, not contents.
       Case 5:20-mc-80061-VKD Document 1-1 Filed 03/10/20 Page 7 of 36


. CT Corporation                                                       Service of Process
                                                                       Transmittal
                                                                       01/08/2020
                                                                       CT Log Number 536938677
 TO:      Arni Gomez
          Apple Inc.
          1 Infinite Loop, MIS 169-2NYJ
          Cupertino, CA 95014-2083


 RE:        Process Served in California

 FOR:     Apple Inc. (Domestic State: CA)




                                    Email Notification, Andrew Stein andrew_stein@apple.com

                                    Email Notification, Matt Clements matthew_clements@apple.com

                                    Email Notification, NATALIE POUS npous@apple.com

                                    Email Notification, ELVIS HOWARD elvis_howard@apple.com

                                    Email Notification, TIFFANIE ROSE tiffanie_rose@apple .com

                                    Email Notification, Sally Zenith zenith@apple.com

                                    Email Notification, HENRY CORNILIE hcornillie@apple.com

                                    Email Notification, MARA LUDMER mludmer@apple.com

 SIGNED:                            C T Corporation System
 ADDRESS:                           1999 Bryan St Ste 900
                                    Dallas, TX 75201-3140
 For Questions:                     877-564-7529
                                    MajorAccountTeam2@wolterskluwer.com




                                                                        Page 3 of 3 / DP
                                                                        Information displayed on this transmittal is for CT
                                                                        Corporation's record keeping purposes only and is provided to
                                                                        the recipient for quick reference . This information does not
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                                                                        appropriate action. Signatures on certified mail receipts
                                                                        confirm receipt of package only, not contents.
Case 5:20-mc-80061-VKD Document 1-1 Filed 03/10/20 Page 8 of 36




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                  Case 5:20-mc-80061-VKD Document 1-1 Filed 03/10/20 Page 9 of 36




 AO SSA (Rev. 02/14) Subpoena to Testify a1 a Deposition in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                             for the
                                                             Central District of California

  Masimo·Corporation and Cercacot Laboratories, Inc.                           )
                                Plaintiffs                                     )
                                   v.                                          )       Civil Action No.     8:18-cv-02001-JVS-JDE
         True Wearables, Inc. and Marcelo Lamego                               )
                                                                               )
                               Defendanls                                      )

                              SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                                      Apple Inc.
                                                        One Apple Park Way, Cupertino CA 95014
                                                        (Name ofperson lo whom this subpoena is directed)

     ,I Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:
Pl~ase see Exhibit A Attached for Topics.

  Place: Knoooe, tv1artens, Olson & Bear [[P                                            Date and Time:
         333 Bush Street, Suite 2100
                                                                                                          02/10/2020 10:00 am
         San Francisco, CA 94104

            The deposition will be recorded by this method:                   stenographic, audio, video and/or real-time computer means

         ,I Production: You, or your representatives, must also bring with you to the deposition the following documents,
           electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
           material : Please see Exhibit 8 attached . You are instructed to produce the documents by January 28, 2020 to
                      the attention of Nicholas Belair at KNOBBE, MARTENS, OLSON & BEAR LLP, 333 Bush Street,
                      Suite 2100, San Francisco, CA 94104.



        The following provisions of Fed. R. Civ. P. 45 are attached- Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:        01/07/2020
                                   CLERK OF COURT
                                                                                          OR
                                                                                                             Isl Brian C. Claassen
                                             Signature of Clerk or Deputy Clerk                                A1/omey 's signature

The name, address, e-mail address, and telephone number of the attorney representing (name a/party)                                   Plaintiffs
 Masimo Corporation and Cercacor Laboratories, Inc.                                            , who issues or requests this subpoena, are:
Brian C. Claassen, Knobbe, Martens, Olson & Bear LLP, 2040 Main St., 14th Floor, Irvine CA 92614 (949) 760-0404

                                Notice to the person who issues or requests this subpoena
lfthis subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. ~iv.:,P. 4~(a)(4).       __ _ _                                           . __ _
                Case 5:20-mc-80061-VKD Document 1-1 Filed 03/10/20 Page 10 of 36




AO 88A (Rev. 02/14) Subpoena to Testiry at P Deposi1ion in a Civil Action (Page 2}

Civil Action No. 8: 18-cv-02001-JVS-JDE

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)

            0 I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or
         ------------------ ----
            0 I returned the subpoena unexecuted because:


            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents; I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
            $
                      ----·-----
My fees arc$                                       for travel and$                       for services, for a total of$    0.00



            I declare under penalty of perjury that this infonnation is true.


Date:
                                                                                            Server's signature



                                                                                          Printed name and title




                                                                                             Server's address


Additional information regarding attempted service, etc.:
                                 Case 5:20-mc-80061-VKD Document 1-1 Filed 03/10/20 Page 11 of 36




                AO 88A (Rev. 02/14) Subpoena lo Tcslify ut o Deposition in o Civil Action (Pa1;1e J)

                                                   Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1 /13)
                (c)   rt nee of Com plinncc.                                                             (i) dfaclosing u tradc secret or other conlidcntiul re~eurch, development,
                                                                                                or commercial infonnation; or
           (I) For a Trial, /fearing, or DcpositiolL A subpoena may commando                            (ii) disclosing on unretoincd c11pcrt's opinion or infonnation that docG
         per.ion to attend o triol, hearing, or dcponition only !Cl follow:;:                   not describe :;pccilio occurrcncca in di:;putc ond results from tho 011pcrt •~
------'-('A) w11tiin 100 miles ofwlicrc ttie person res1ilcs, 1s cmploycil~,o~r----siudftliat was not rcquesiecl'liy n party,
         regularly transacts business in person; or                                                 (C) Sp<!cifying Conditions as an Al1erna1/ve. In the circumstances
             (B) within the state where the person resides, is employed, or regularly           described in Rule 45(d)(3)(8), the court may, instead of quashing or
         trnnsacc; business in person, if the person                                            modifying a subpocno, order appeuruncc or production under ~pccilied
                (i) is a pany or a party's officer; or                                          conditions irthc serving party:
                (ii) i3 commllllded to nltcnd o trial lllld would not incur sub31l1Jltiol               (I) 5hows a 5Ub5tlllltiol need for tho IC5timony or matoriol that cannot bo
         expense.                                                                               otherwise met without undue hardship; and
                                                                                                        (ii) cn5urc5 that the 5ubpocmJCd person will ba rc.l!:omibly compensated,
           (2) For Other Discovery. A subpoena may command:
             (A) production of documents, electronically stored information, or                 (e) Duties in Responding loo Subpoena.
         tangible things at a place within 100 miles of where the person resides, is
         employed, or regularly transacts business in person; and                                 (I) Producing Documents or Electronlc/Jlly Stored Jnformati0IL These
             (8) inspection of premises at the premises 10 be inspected.                        procedures npply to producing documents or electronically stored
                                                                                                infom1a1ion:
         (d) rrotccting a rc,son Subject to a Subpoena; Enforcement.                                (,\) Documents. A person rc~ponding 10 a ~ubpocna lo produce documents
                                                                                                must iii\'.idu.:~ them a; they ar,:, k,pt in th.: vrdinnry ooursc ofbusinc;s or
           (I) A~oiding Undue Burdtn or t::.xp~11st; Sanctions. A party or attorney             muot orsaniic and label them to corrcDpond to lhc cntesoricD in the demnnd.
         responsible for issuing and serving u subpuena must lake rc11So11eblc steps                ( B) Furmfur Prudul'ing E/ecirunicul/y Stum.I lnfurmuliun Nu/ S{Jecifled.
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         lUbp,,cna. The .:ourt for the di3trict where compliance b required mu5t                informulion, the pcrnon rcoponding must produco it in D form or fonnG in
         enforce thi3 duty nnd impo3e on appropriate 5anction .. which may include              which it io ordinarily maintained or in a rca!;onably uoablc fonn or fonnG.
         lost earnings and reasonable allorncy's fees-on a pany or attorney who                     (C) Electronically Stored Information Produced in Only One Form. The
         fails to comply.                                                                       person responding need not produce the same elcctronicnlly stored
                                                                                                information in more than one form,
           {2) Command to Produce Materials O( Permit ln:rpection.                                  (D) Inaccessible Electronically Stored Information, The person
             (A) Appearance Nol Required A person commanded lo produce                          responding need not provide discovery of electronically stored information
         documents, electronically :i1orc<1 information, or tangible thing~, or to              from oourcco that tho pornon idcntifieo (I!; not rcaoonably acccociblc becauco
         pcrmil the inspection of premfaes, need nol appcur in pcrnon al the plucc of           of undue burden or coot. On motion to compel diocovery or for a protective
         production or inspection unless also commanded to appear for a deposition,             order, the person responding must show that the infonnation is not
         hca.ii11~, v• Ilia!.                                                                   ,·~115011ably accc,siblo! ba.ausc of undue burden or cost, lfthet showing is
             (D) Obj.i~t,',:;11s. I\ pcnon commanded to produce document:; or tangible          made, the court may nonctholos5 order diDCOV0I'}' from cuch ~ourca~ ifthG
         thi,•, ~ ul' Iv v,:,,•,;i1 insp~,tio11 mny serve on th~ purty or attorney dc5igm1tcd   request ins party shows sood onusc, considcrini; the limitationo of Ruic
         in the subpoena a wriucn objection to inspecting, copying, testing, or                 26(b)(2)(C), The court may specify conditions for lhe discovery.
         sampling any or nll of the materials or to inspecting the premises-or to
         producing electronically stored infonnmion in the form or forms requested.             (2) Claiming Privilege or Protection.
         The objection mu3t be 3cl'\ cd before the earlier of the time specified for
                                               0
                                                                                                  (A) lrrfcrma1ion Withheld A pcr,;on withholdini; subpoenaed information
         compliance or 14 duy3 after the subpocnu is served. If un objection is mndc,           under o claim that it i5 prh·ilci;cd or 5ubjcct to protection a5 lriul propurntion
         the following rules apply:                                                             material must:
                (i) Al any time, on notice to the commanded person, the serving party                 (i) expressly make the claim; and
         mny mo,·c the court for the district where comp! ianco i~ required for an                    (ii) dcscribc the nature of tho wi1hheld documents, communication5, or
         order compel! ing production or inspection,                                            tangible things in o manner that, withoul revealing information itself
                (ii) These acts may be required only as directed in the order, and the          privileged or protected, will enable the parties to assess the claim.
         order must protect a person who is neither a party nor n party's officer from            (B) Information Produced. If information produced in rcsp0nsc to a
         signi licnnt expense resulting from compliance.                                        subpoena fs subject lo 11 claim of privilege or of protection as
                                                                                                trial praparntion material, the per.:on mnking the cl11im may notif)• :iny party
           (J) Quashing or Modifying a S11bpocn1L                                               that rccch•od tho information of tho claim and the ba!;iO for it. Aflcrbcing
                                                                                                notified, u party must promptly return, ~eque~ter, or dt:~troy the 5pecilied
             (A) ll'lr.:11 l/eq11ir.:d. On timcl)' motion, the toun for the district where      information and uny oopico it ha!;; must not u5c or cfoclooo tho information
         compliance is required must quash or modify a subpoena that:                           until the claim is resolved; must take reasonable steps to retrieve the
                                                                                                information if the purl)' disclosed it boforo boins notified, 1111d ma)' promptly
                (i) foils to allow a reasonable time to comply;                                 present the infonnation under seal to the court for the district where
                (ii) r.:quir.:3 a p.:mm to comply beyond the gcogrnphicnl limiCJ                oomplinnoo is required for a dotorminalion of tho clnim, Tho por5on who
         specified in Ruic 45(c):                                                               produced the infonnation mu5t prcsen•e the information until the claim io
                (iii) requires disclosure of privileged or other protected matter, ifno         resolved.
         exception or waiver applies; or
                (iv) subjects a person to undue burden.                                         (g) Contempt.
            (D) Whe11 rcrmilled. Tu prvt..:.::1 "v~1 ~011 ,ul>jo:,;t Iv or .,ff,;ch:J l>y "     The court for the dbtrict where compliance is rcquirei.J .... and also, aflor a
         ~ul,pu~""' ti,~ i:vutl fo1 tt,, di,tti1,l wlo1,11, w111vliw1,c is rcquir.:d or,uy, vii motion i5 tron5ferred, the istuing court may hold in contempt a pcr,;on
         motion, quash or modify the subpoena iri1 requires;                                    who, having been served, fails without adequate excuse 10 obey the
                                                                                                subpoena or an order related 10 it.


                                                           For access to subpoena materials, see Fed, R, Civ. P, 4S(a) Committee Note (2013),
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     EXHIBIT A
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 1                                        EXHIBIT A
 2         A.     The term "Masimo" shall mean Masimo Corporation and shall
 3   include any predecessor in interest, successor, subsidiary, affiliate, and/or division.
 4         B.     The term "Cercacor" shall mean Cercacor Laboratories, Inc. and shall
 5   include any predecessor in interest, successor, subsidiary, affiliate, and/or division.
 6         C.     The term ''Plaintiffs'' shall mean Masimo and Cercacor, collectively
 7   and/or individually.
 8         D.     The term "Lamego," shall mean and include the following individual,
 9   Marcelo Lamego, and any present or former principal, officer, director, employee,
10   former employee, servant, agent, attorney, or other representative acting on behalf
11   of Defendant Marcelo Lamego.
12         E.     The term "True Wearables" shall mean True Wearables, Inc. and any
13   present or former principal, officer, director, employee, former employee, servant,
14   agent, attorney, or other representative acting on its behalf, and shall include any
15   parent, subsidiary, division, predecessor, successor, or affiliate.
16         F.     The terms "Defendants," "You," and "Your" shall mean Lamego and
17   True Wearables, collectively and/or individually.
18         G.     The terms "Oxxiom" or "Accused Producf' shall mean True
19   Wearables, Inc.'s hardware and/or iOS software application pulse oximeter
20   product that, among other things, tracks oxygen saturation (Sp02), pulse rate (PR)
21   and perfusion index (PI).
22         H.     The term 11 Masimo Asserted Patents 11 shall mean, individually and
23   collectively: U.S. Patent Nos. 7,186,966 ("the '966 patent"), 7,295,866 ("the '866
24   patent"), 8,886,271 (''the '271 patent"), 8,983,564 (''the '564 patent"), 10,194,847
25   (''the '847 patent"), and I 0, 194,848 ("the '848 patent"), and any other patents that
26   Masimo asserts in this litigation.
27
28
     -- -- ---~ -----
 Case 5:20-mc-80061-VKD Document 1-1 Filed 03/10/20 Page 14 of 36




 1                            DEPOSITION TOflCS
 2   TOPIC NO. 1:
 3         Marcelo Lamego's involvement in, and technical disclosures to Apple
 4   regarding, physiological parameter monitoring, such as pulse oximetry and pulse
 5   rate monitoring.
 6   TOPIC NO. 2:
 7         Marcelo Lamego's contributions to Apple's marketing strategies for
 8   physiological parameter monitoring, such as pulse oximetry and pulse rate
 9   monitoring.
10   TOPIC NO. 3:
11         Marcelo Lamego's disclosures to Apple relating to light piping reduction in
12   physiological parameter monitoring, such as pulse oximetry and pulse rate
13   monitoring.
14   TOPIC NO. 4:
15         Marcelo Lamego' s disclosures to Apple relating to the weighting and
16   relative   importance   of separate   calculation   techniques   for   non-invasive
17   measurement of blood parameters
18   TOPIC NO. 5:
19         Marcelo Lamego's disclosures to Apple relating to physiological parameter
20   buffers during measurements in physiological parameter monitoring, such as pulse
2I   oximetry and pulse rate monitoring.
22   TOPIC NO. 6:
23         Marcelo Lamego's involvement in and disclosures to Apple regarding
24   technical aspects oflight emission and detection.
25   TOPIC NO. 7:
26         Apple's communications with Marcelo Lamego concerning Mr. Lamego's
27   employment with Apple and termination thereof.
28

                                             -2-
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     EXHIBITB
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                 l                                       EXHIBIT B
                 2         Pursuant to Rules 34 and 45 of the Federal Rules of Civil Procedure, and in
                 3   accordance with the following definitions and instructions, Plaintiffs request that
                 4   Apple Inc. produce the documents and things identified in the requests for
                 5   production below.
                 6                                     DEFINITIONS
                 7         1.     The term "documents" is used in the broadest sense possible under
                 8   Rule 34 of the Federal Rules of Civil Procedure, and includes all written or
                 9   graphic matter, however produced or reproduced, including, but not limited to,
                lO   originals ( or copies where originals are unavailable) of correspondence, electronic
                IJ   mail, computer storage media (including, but not limited to, all active, inactive,
                12   and archived data files stored on hard drives, operating systems, software, floppy
                J3   disks, magnetic tapes, zip drives, CD-ROMS, mainframe computers, desktop
                J4   computers, home computers, laptops, mobile handheld devices, retired computer
                15   systems or any other storage medium), computer software needed to produce in
                16   human-readable form data from said computer storage media, instructions for
                17   using said computer software, telegrams, notes or sound recordings of any type of
                18   personal or telephone conversations, or of meetings or conferences, minutes of
- - - - - -19 - dlfec:tors- or - committee · meetings,~ mcmoranda;- inter•officc - communicatiom;, -
               20    studies, analyses, reports, engineering drawings, results of investigations, catalogs,
               21    contracts, licenses, agreements, working papers, statistical records, ledgers, books
               22    of account, vouchers, invoices, charge slips, freight bills, time sheets or logs,
               23    stenographers' notebooks, diaries, or papers similar to any of the foregoing,
                24   however denominated .
               25          2.     The terms "communication" or "communications" mean any
               26    communication regardless of the manner in which the communication(s) took
               27    place, including, but not limited to, face-to-face conversations, correspondence,
               28
                                                   - ----3 -- -~- - --- - -- - --- - -- -
 Case 5:20-mc-80061-VKD Document 1-1 Filed 03/10/20 Page 17 of 36




 1   electronic or computer mail, telephone calls, facsimile communications, or
 2   telegrams.
 3         3.     The terms "describe," "described" or "description" when used with
 4   respect to any act, action, accounting, activity, audit, practice, process, occurrence,
 5   course of conduct, happening, negotiation, relationship, scheme, communication,
 6   conference, discussion, development, service, transaction, instance, incident or
 7   event, means provide any or all of the following information (to the extent it is
 8   available to you): its general nature; the time and place thereof; a chronological
 9   account setting forth each element thereof, what such element consisted of, and
10   what transpired as a part thereof; the identity of each person who performed any
11   function or had any role in connection therewith (e.g., speaker, participant,
12   contributor of information, witness) or who has any knowledge thereof together
13   with a description of each person's function, role, or knowledge; the identity of
14   each document which refers thereto or which was used, referred to, or prepared in
15   the course or as a result thereof; and identification of each communication which
16   was a part thereof or referred thereto.         When used in connection with any
17   evaluation, calculation, or computation, the terms "describe," "described" or
J8   "description" mean provide any or all the following information: an explanation of
J9   its meaning; an explanation of the manner in which it was derived; the identity of
20   each person who performed any function with respect thereto and a description of
21   his or her function; the identity of each document which refers thereto or which
22   was used, referred to, or prepared in the course of or as a result thereof; and the
23   identity of each communication which occurred in the course of the preparation
24   thereof or which referred thereto.
25         4.     The term "you," "your," and "Apple" means Apple Inc., and its
26   associated entities (including subsidiaries and affiliates), companies acquired by
27   Apple Inc. or, employees, agents, partners, attorneys, and representatives.
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  I         5.     The terms "person," "individual," and "entity" shall include natural
 2    persons, corporations, and other legal or business entities, whether or not in your
 3    employ, and the acts and knowledge of a person, individual or entity are defined to
 4    include the acts and knowledge of that person's, individual's, or entity's directors,
 5    officers, members, employee.s, representatives, agents, and attorneys.
 6          6.     The singular form of any noun or pronoun used herein includes
  7   within its meaning the plural form thereof and vice versa~ the neuter, masculine or
 8    feminine form of any pronoun used herein includes within its meaning the neuter,
 9    masculine and feminine forms~ and the use herein of any tense of any verb
10    includes within its meaning all other tenses of the verb. In every such instance,
11    the specific request shall be construed in the broadest sense so as to call for the
12    most complete and inclusive answer.
13          7.     The terms "and" and "or" shall be construed both conjunctive_ly and
14    disjunctively, and the plural shall be construed as the singular, and vice versa, as
15    necessary and in order to bring within the scope of these requests for production
16    all documents that might otherwise be construed to be outside their scope.
17                                    INSTRUCTIONS
18          1.     You are to produce every document and thing requested that is in
.}9   your possession, custody, or control, or within the possession, .custody, or control
20    of any employees, agents, con·sultants, attorneys, and/or any other persons acting
21    or purporting to act on your behalf.
22          2.     If you· have any good faith objection to any request or any part
23    thereof, the specific nature of the objection and whether it applies to the entire
24    request or to a part of the request shall be stated. If there is an objection to any
25    part of a request, then the part objected to should be identified and documents
26    responsive to the remaining unobjectionabte part should be produced.
27          3.     Each request shall be answered separately.
28          4.     Each request shall be answered on the basis of your entire

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 1    knowledge, from all sources.
 2           5.      For each document and thing requested herein that you withhold or
 3-   reaact under a claim of attorney-client privilege, work product immunity, or any
 4    other privilege or immunity, you shall provide an explanation of the basis for the
 5    claim, including:
 6                a. the date of the document;
 7                b. the type of document (e.g., letter, memorandum, etc.);
 8                c. the name and title of any and all authors or senders and any and all
 9                   addressees and copy recipients of the document and any and all
10                   persons to whom the document was shown or to whom its subject
11                   matter was disclosed;
12                d. the name of each person or persons (other than stenographic or
13                   clerical assistants) participating in the preparation of the document or
14                   in whose name the document was prepared;
15                e. the subject matter of the document;
16                f. the REQUEST FOR PRODUCTION to which the document is
17                   responsive; and
18                g. a statement of the basis upon which the document has been redacted
19                   or withheld, including the specific nature of the privilege or
20                   exemption claimed and the detailed grounds for claiming such
21          6.       For any document requested herein that has been destroyed or
22    misplaced, you shall provide the information described in paragraphs S(a)-(e)
23    above, as well as a brief explanation of the circumstances (when, how, by whom,
24    and why) surrounding the document's destruction or loss, and any and all records
25    pertaining to its destruction or loss.
26          7.       If you or your attorneys know of the existence, past or present, of any
27    document described in a request, but such document is not presently in your
28    possession, custody, or control or in the possession, custody, or control of its
      --- --- ·- --- -              ···-         -6-
                                                   - - - -- •· . - - . - .
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 1     agents, representatives, or attorneys, you shall so state in response to the request,
 2     identify such document in response to the request, and identify the individual in
 3     whose possession, custody, or control the document was last known to reside.
 4           8.      Documents shall be produced as they are maintained in the normal
 5     course of business, including:
 6                a. all associated file labels, file headings, and file folders shall be
 7                   produced together with the responsive documents from each file, and
 8                   each file shall be identified as to its owner or custodian;
 9                b. all documents that cannot be legibly copied shall be produced in their
IO                   original form; otherwise, you may produce photocopies; and
II                c. each page shall be given a discrete production number.
12
I3                             REQUESTS FOR PRODUCTION
14     REQUEST FOR PRODUCTION NO. 1:
15           Documents sufficient to show Marcelo Lamego's involvement in any Apple
16     program or project relating to physiological parameter monitoring,. including but
17     not limited to pulse oxinietry and pulse rate monitoring.
I8     REQUEST FOR PRODUCTION NO. 2:
I9           All documents constituting, referring, or relating to Marcelo Lamego's
20     technical disclosures to Apple relating to physiological parameter monitoring,
2I     including but not limited to pulse oximetry and pulse rate monitoring.
22     REQUEST FOR PRODUCTION NO. 3:
23           All documents generated in whole or in part by Marcelo Lamego while
24     employed at Apple and relating to physiological parameter monitoring, including
25     but not limited to pulse oximetry and pulse rate monitoring.
26     REQUEST FOR PRODUCTION NO. 4:
27           Documents sufficient to show Marcelo Lamego's contributions to Apple's
28     marketing strategies relating to physiological parameter monitoring, including but
                                                 "-7-
 Case 5:20-mc-80061-VKD Document 1-1 Filed 03/10/20 Page 21 of 36




 1   not limited to pulse oximetry and pulse rate monitoring.
 2   REQUEST FOR PRODUCTION NO. 5:
 T         All-documents constituting, referring, or relating to Marcelo Lamego's
 4   disclosures to Apple regarding light piping reduction in physiological parameter
 5   monitoring, including but not limited to pulse oximetry and pulse rate monitoring.
 6   REQUEST FOR PRODUCTION NO. 6:
 7         All documents constituting, referring, or relating to Marcelo Lamego's
 8   disclosures to Apple regarding the weighting and relative importance of separate
 9   calculation techniques for non-invasive measurement of blood parameters.
10   REQUEST FOR PRODUCTION NO. 7:
11         All documents constituting, referring, or relating to Marcelo Lamego's
12   disclosures to Apple regarding physiological parameter buffers during
13   measurements of physiological parameters in physiological parameter monitoring,
14   including but not limite~ to pulse oximetry and pulse rate monitoring.
15   REQUEST FOR PRODUCTION NO. 8:
16         Documents sufficient to show Marcelo Lamego's involvement in any Apple
I7   program or project relating to the technical aspects of light emission and detection
18   REQUEST FOR PRODUCTION NO. 9:
19         All documents constituting, referring, or relating to Marcelo Lamego's
20   disclosures to Apple regarding the technical aspects of light emission and
2I   detection.
22   REQUEST FOR PRODUCTION NO. 10:
23         All communications with Marcelo Lamego regarding his employment at
24   Apple, including his recruitment and termination.
25
26   III
27   Ill
28   III
                                            ··-s.:.~·-
 Case 5:20-mc-80061-VKD Document 1-1 Filed 03/10/20 Page 22 of 36




 1       REQUEST FOR PRODUCTION NO. 11:
 2             All agreements between Marcelo Lamego and Apple concerning his
     -   emp oymenfoy Apple, mclucfing 6ut not limited to employment agreements,
 4       assignment agreements, confidentiality agreements, separation or termination
 5       agreements.
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Case 5:20-mc-80061-VKD Document 1-1 Filed 03/10/20 Page 23 of 36




                 Exhibit 2
        Case 5:20-mc-80061-VKD Document 1-1 Filed 03/10/20 Page 24 of 36




From:              Lerner. Joshua H.
To:                Irfan .Lateef ; Hannah Cannom
Cc:                Sampli n. Ilissa
Subject:           RE: Masimo v. TrueWearables - Apple TPS
Date:              Thursday, March 5, 2020 8:16:10 AM



Hi Irfan, Following up on this so we can work with your schedule. Thanks, Josh

Joshua H. Lerner



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555 Mission Street Suite 3000, San Francisco, CA 94105-0921
Tel +1 415.393.8254 • Fax +1 415.374.8499
JLerner@gibsondunn com • www gjbsondunn com



From: Lerner, Joshua H.
Sent: Wednesday, March 4, 2020 9:07 PM
To: 'lrfan.Lateef' <irfan.late ef@knobbe.com>; 'Hannah Cannom' <hcannom@wscllp.co m>
Cc: Samplin, llissa <ISamp lin@gibsondunn.com>
Subject: RE: Masimo v. TrueWearables -Appile TPS


Irfan, We are happy to work with your schedule assuming we agree to move the deadline for
us to object or otherwise respond until Tuesday (so that, as originally scheduled, we can have
a few days to follow up with our client if necessary). Thanks.


Joshua H. Lerner



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JLerner@gibsondunn com • www gjbsondunn com



From: Irfa n.Lateef <irfa n. lateef @knobbe.com>
Sent: Wednesday, March 4, 2020 8:51 PM
To: Lerner, Joshua H.<JLerner@g ibsondun n.com>; Hannah Cannom <hcan nom@wsc ll p.com >
Cc: Morrisson, Haley S.< HMorrisson@g ibsondu nn.com>
Subject: RE: Masimo v. TrueWearables -App le TPS


[External Email]
Hi Josh,
        Case 5:20-mc-80061-VKD Document 1-1 Filed 03/10/20 Page 25 of 36



Sorry for the de layed response . I can ta lk tomorrow late afternoon if that works?


lrfan


From: Lerner, Joshua H. <JLern e r@ gib sondunn. com>
Sent: Wednesday, M arc h 4, 2020 16:47
To: lrfan .Lateef <irfan.l at eef@knobb e.co m>; Hannah Cannom <hca nn om@wsc llp. co m>
Cc: Morris so n, Haley S. <HM orrjsso n@ gib so ndunn co m>
Subject: RE: Masimo v. Tru eW ea rables -Apple TPS


Hi Irfan, I'm assuming you' re busy, but I would like to nail this down. If you need to, should
we move this a week (talk next Wednesday and object or respond by next Friday)? Please let
us know. Best, Josh

Joshua H. Lerner



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JLerner@qibsondunn.com • www.qibsondunn.com




From: Lern er, Joshua H.
Sent: Wednesday, M arc h 4, 2020 12:10 PM
To : 'lrfan.Lateef' <irfan.lat eef @knobbe.com >; 'H annah Ca nnom' <hcannom@ wsc ll p.com >
Cc: Morrisson, Haley S.<HM orri sson@ gibsondunn .co m>
Subject: RE: Masi mo v. TrueWearables -Appi le TP S


Hi Irfan, Just following up on this. Thanks, Josh

Joshua H. Lerner



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JLerner@qibsondunn.com • www.qibsondunn .com




From: Lern er, Joshua H.
Sent: Wednesday, March 4, 2020 9:25 AM
To: 'lrfan .Lateef' <irfa n.lat eef @knobbe.co m>; Hannah Ca nnom <hca nnom@wscl lp .co m>
Cc: M orris so n, Ha ley S.<HMorrisson@ gib sondunn.com>
         Case 5:20-mc-80061-VKD Document 1-1 Filed 03/10/20 Page 26 of 36



Subject: RE: Masimo v. TrueWearables -Apple TPS


lrfan,


We ju st rece ived a notification that you declin ed the ca lend ar invit e for the meet and co nfer. Are
you ava il ab le at anot her time today?


Th anks, Jo sh



Joshua H. Lerner



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JLerner@gjbsondunn com • www gjbsondunn com



From: lrfan .Lateef <irfan. lateef@knobbe.com >
Sent: Thursday, February 27, 2020 6:16 PM
To: Lerner, Joshua H.<JLerner@g ibsondunn.com>; Hannah Cannom <hcannom@wscllp.com >
Cc: Morrisson, Haley S.<HMorrisson@gibsondunn.com>
Subject: RE: Masimo v. TrueWearables -Apple TPS


[External Email]
Sorry for th e delay. Yes, th is works .


Th anks,
lrfan




From: Lerner, Joshua H. <JLerner@g ib sondunn com>
Sent: Thursday, February 27, 202017:22
To: lrfan .Lateef <irfan !ateef@knobbe com >; Hannah Cannom <bcannom@wsc!!p.com >
Cc: Morrisson, Ha ley s.< HMorrjsson@g ibsondunn .co m>
Subject: RE: Masimo v. TrueWearables -App>le TP S


Irfan, Sorry for pestering, but does this work for you? I need to lock down. Thanks.

Joshua H. Lerner



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         Case 5:20-mc-80061-VKD Document 1-1 Filed 03/10/20 Page 27 of 36



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From: Lerner, Joshua H.
Sent: Thursday, February 27, 2020 1:28 PM
To: 'lrfan.Lateef' <irfan.lateef@knobbe.com >; 'Hannah Cannom' <hcannom@wscl lp com >
Cc: Morrisson, Haley s. <HMorrisson@g ibsondunn com>
Subject: RE: Masimo v. TrueWearables -Apple TPS


And sorry but before my schedule changes, does 10:30 a.m. PST on Wed work for you?
Thanks.

Joshua H. Lerner



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From: Lerner, Joshua H.
Sent: Thursday, February 27, 2020 1:16 PM
To: 'lrfan.Lateef' <irfan. lateef@knobbe.com >; Hannah Cannom <hcannom@wscllp.com>
Cc: Morrisson, Haley S.< HMorrisso n@gibso ndunn.com>
Subject: RE: Masimo v. TrueWearables - Apµile TPS


lrfan:


Thanks for the productive call yesterday. I'm confirming that we will put off the deadline for Apple
to object or otherwise respond until March 6 and to confer again on March 4. Please let us know if
any other questions or comments; otherwise let us know when is good for you next Wednesday .


Thanks, Josh



Joshua H. Lerner



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        Case 5:20-mc-80061-VKD Document 1-1 Filed 03/10/20 Page 28 of 36



JLerner@gibsondunn.com • www.gibsondunn.com



From: lrfan .Lateef <irfan. lateef@k nobbe .co m>
Sent: Tuesday, February 25, 2020 3:13 PM
To: Hannah Cannom <hcannom @wsc llp.com>; Lerner, Joshua H.<JLerner@gibsondunn .co m>
Cc: Morrisson, Haley S.< HM orrisson@g ib sondu nn .co m>
Subject: RE: Masimo v. TrueWearab les -Apple TPS


[External Email]
Hi,


Sorry fo r t he de lay on this . I am free tomorrow afte rnoon after 2:30pm. Let me know if that works.


Thanks,
lrfan




From: Hannah Cannom <hcannom@wsc ll p.com >
Sent: Tuesday, February 25, 2020 15:07
To: Lerner, Joshua H.<JLerner@g ibso nd unn.co m>; lrfan .Lateef <irfa n.lat eef@ knob be.co m>
Cc: Morrisson, Haley S.<HMorrisson@gibso ndunn.com >
Subject: Re : Masimo v. TrueWearables -Apple TPS


I'm free tomorrow after 10:30am PT.

Hannah Cannom
Walker Stevens Cannom LLP
(213) 337-9972 I hcannom@wscHp com



From: "Lerner, Joshua H." <JLerner@gibsondunn.co m >
Date: Tuesday, February 25, 2020 at 2:01 PM
To: "lrfan.Lateef" <irfan. lateef@k nobbe.com >
Cc: Hannah Cannom <bcannom@wsc ll p.com >, "Morrisson, Haley S."
<H Morrisson@gibsonduon.com >
Subject: RE: Masimo v. TrueWearables - Apple TPS

Hi Irfan, My afternoon is now filling up so I'm following up on this - if you cannot speal<
later today, does tomorrow morning work for everyone? Thanks, Josh

Joshua H. Lerner



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     Case 5:20-mc-80061-VKD Document 1-1 Filed 03/10/20 Page 29 of 36



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From: Lerner, Joshua H.
Sent: Monday, February 24, 2020 5:32 PM
To: 'lrfan .Lateef' <irfan.lateef@knobbe.com >
Cc: 'Hannah Cannom' <hcannom@wscl )p.com >
Subject: RE: Masi mo v. TrueWearables -Apple TPS


Hi Irfan, Just following up on this . Thank you.

Joshua H. Lerner



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Tel +1 415.393.8254 • Fax +1 415.374.8499
JLerner@qibsondunn .com • www.qibsondunn.com




From: Lerner, Joshua H.
Sent: Friday, February 21, 2020 10:54 AM
To: 'lrfan.Lateef' <irfan.lateef@knobbe.com >
Cc: 'Hannah Cannom' <hcannom@wscllp.com>
Subject: RE : Masimo v. TrueWearables -Apple TPS


Hi lrfan, Does after 3:30 PST work for you? Best, Josh

Joshua H. Lerner



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From: lrfan.Lateef <irfan.lateef@knobbe.com>
Sent: Wednesday, February 19, 2020 6:22 PM
To: Lerne r, Joshua H.<JLerner@gibsondunn .com>
Cc: Hannah Cannom <hcannom@wscllp.com >
Subject: RE: Masimo v. TrueWearables -Apple TPS
         Case 5:20-mc-80061-VKD Document 1-1 Filed 03/10/20 Page 30 of 36




[External Email]
Hi Jos h,


Nice to meet you as we ll. An ext ension is no prob lem. Let's ext end th e dead lin e to February 28 .
Wou ld t he afte rnoo n of Feb ru ary 25 (Tuesday) work fo r both of you fo r a ca ll ?


Thanks,
lrfan




From: Lerner, Joshua H. <J Lern er@gibso ndunn .co m>
Sent: Wednesday, February 19, 2020 18:14
To: lrfan.Lateef <irfan lateef@kn obbe co m>
Cc: Hannah Cannom <hcan nom@wsc1 1p co m>
Subject: FW: Masimo v. TrueWea rab les -App le TPS


Hi Irfan,

Nice to meet you by email. As you may have heard, we are representing Apple in the recently
filed case by Masimo and therefore are working with Hannah on this. We wanted to reach out
to seek an extension of the deadline below for an additional week during which all of us can
get on a call. If that works, I'm available this week and next - just let us know what works
best for you.

Best, Josh

Joshua H. Lerner



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From: Hannah Cannom < >
Date: Thursday, February 6, 2020 at 2 :03 PM
To: bstevens <bst eve ns@wsc ll p. co m>, "" <irfan. lat eef@knobb e.com>
Subject: Re: Masimo v. TrueWearables - Apple TPS

lrfan,


Thanks for the quick ca ll this afternoon. As discussed, we agreed to further extend the deadline for
App le to object or otherwise respond to the subpoena to February 20, 2020.
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We'll reach out next week for a further update, but please let me know if you wou ld like to discuss in
the in terim.


Best,
Hann ah

Hannah Cannom
Walker Stevens Cannom LLP
(213) 337-9972 I hcannom@wscllp com



From : bstevens <bstevens@wscl lp.com>
Date: Friday, January 24, 2020 at 3:09 PM
To: "irfan. lateef@knobbe.com " <irfan.lateef@knobbe.com >
Cc: Hannah Cannom <bcannom@wscliD,com>
Subject: Re: Masimo v. TrueWearables - Apple TPS


lrfan,
Thanks for the follow-up ca ll this afternoon. As discussed, I'm writing to confirm ou r agreement to
further extend the time for Apple to object or otherwise respond to the subpoena to February 10,
2020 .
We wi ll touch base for a further update either late next week or early the following.
Best,
Bethany



Bethany Stevens
Walker Stevens Cannom LLP
(213 ) 337-4551 I bstevens@wscllp com



From: Hannah Cannom <hcannom@wsc ll p.com>
Date: Tuesday, January 14, 2020 at 5:03 PM
To: "irfan. lateef@knobbe.com " <irfan.lateef@knobbe.com>
Cc: Bethany Stevens <bstevens@wscl lp.com >, Hannah Ca nnom <hcannom@wscl lp.com>
Subject: Masi mo v. TrueWearables - Apple TPS


lrfan,


Thanks for taking the time to speak with us today. As discussed, Apple's deadline to object or
otherw ise respond to the subpoena is extended up to and inc luding January 30, 2020. Please be in
touch in the interim as your case sc hedu le takes shape.


Best,
      Case 5:20-mc-80061-VKD Document 1-1 Filed 03/10/20 Page 32 of 36



Hannah

Hannah Cannom
Walker Stevens Cannom LLP
(213) 337-9972 I hcannom@wscllp com



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Case 5:20-mc-80061-VKD Document 1-1 Filed 03/10/20 Page 34 of 36




                 Exhibit 3
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                                                                                                                         Fax +1 415.374.8499
                                                                                                                         JLerner@gibsondunn.com




  March 9, 2020


   VIA EMAIL (IRFAN.LATEEF@KNOBBE.COM)

   Irfan Lateef
   Knobbe, Martens, Olson & Bear LLP
   2040 Main Street, Fourteenth Floor
   Irvine, CA 92614

   Re:     Masimo Corp. eta!. v. Tn,e Wearables Inc. eta!., No. 8:18-cv-02001-JVS-JDE

   Dear lrfan:

   I write to follow up on our meet and confer on Thursday March 5, 2020 regarding the
   reasons why the non-party subpoena served on Apple Inc. ("Apple") in this matter is
   improper and should be withdrawn entirely. We did not hear back from you on Friday
   March 6, 2020, as the parties discussed, regarding your final position. If the subpoena is not
   withdrawn, Apple is prepared to move to quash and for a protective order for the reasons set
   forth below.

  First, Plaintiffs served the subpoena the day before it filed an action against Apple for patent
  infringement and trade secret misappropriation. See Masimo Corp. et al. v. Apple, Inc., No.
  8:20-cv-00048-JVS (JDEx) (C.D. Cal. filed Jan. 9, 2020) (the "Apple Case"). Whereas this
  case (the "True Wearables Case") is focused on Mr. Lamego and his company-and does not
  require discovery from Apple-the subpoena on its face goes to the claims that Plaintiffs are
  now pursuing against Apple in the Apple Case. Indeed, during our telephonic meet and
  confer on March 5, 2020, you seemed to acknowledge that the trade secret misappropriation
  alleged in the First Amended Complaint in this case pertains to True Wearables, and not to
  Apple. Therefore, Plaintiffs' subpoena appears to be a transparent attempt to obtain
  discovery before the Comt has even issued a scheduling order in the Apple Case. As you
  know, the Initial Standing Order entered in the Apple Case by then-presiding Judge Ca1ter
  states that "[p ]ursuant to Rule l 6(b), the Court will set a scheduling conference and issue a
  scheduling order in each case," and Judge Carter had not yet done so. Additionally, the
  Court transferred the Apple Case to Judge Selna on March 4, 2020, and Judge Selna has not
  entered an Initial Order, much less set a scheduling conference or issued a scheduling order.
  It is improper for Plaintiffs to have sought to bypass the current Initial Order and Federal
  Rule of Civil Procedure 26( d)' s mandate that no discovery be served prior to the Rule 26(f)
  conference by pursuing discovery against Apple over two months before such discovery may



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  lrfan Lateef
  March 9, 2020
  Page 2



  be authorized or commenced, when such discovery is so obviously intended to be used for
  purposes of the Apple Case.

  Second, Plaintiffs have not defined their trade secrets in the Apple Case with sufficient
  paiiicularity. Under California Code of Civil Procedure Section 2019.210 ("Section 2019"),
  a "party alleging the misappropriation" may not even "commenc[e] discovery relating to the
  trade secret" in "any action alleging the misappropriation" without first "identify[ing] the
  trade secret with reasonable particularity." Cal. Code Civ. Proc. § 2019 .210; see MIA-COM
  Tech. Sols., Inc. v. Litrinium, Inc., 2019 WL 4284523, at *2 (C.D. Cal. June 11, 2019)
  ("[U]nder the particular facts of this case, the procedural requirements of Section 2019.210
  are warranted and appropriate to assist in the orderly and expeditious handling of
  discovery."); Soc. Apps, LLC v. Zynga, Inc., 2012 WL 2203063, at *2 (N.D. Cal. June 14,
  2012) (applying Section 2019.210 because it "assists the court and paiiies in defining the
  appropriate scope of discovery").

   Third, it would be inappropriate to proceed with the subpoena because no protective order is
   in place. The topics noticed for deposition and the requests for production in the subpoena
   implicate Apple's highly sensitive, confidential information. Apple will not disclose such
   information without a protective order in place.

  If we do not hear back from you before 2:00 p.m. PST on the agreed-upon deadline for us to
  object or otherwise respond (Tuesday, March 10), we will move to quash and for a protective
  order.

   Sincerely,



   Joshua H. Lerner
